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                                                                           BY--"""'.oFl'Ee!E!l'pQW~cffLe'ffiARr----

                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

     UNITED STATES OF AMERICA,                     Case No. 2:23-cr-00010-HCN

            Plaintiff,                             STATEMENT BY DEFENDANT IN
                                                   ADVANCE OF PLEA OF GUILTY
            vs.                                    AND PLEA AGREEMENT

     KARI DEE BURGOYNE,                            Judge Howard C. Nielson Jr.

            Defendant.


           I hereby acknowledge and certify that I have been advised of and that I understand
   the following facts and rights, and that I have had the assistance of counsel in reviewing,
   explaining, and entering into this agreement:

          1.       As part of this agreement with the United States of America ("United
   States"), I intend to plead guilty to Count 1 of the Misdemeanor Information. My attorney
   has explained the nature of the charge against me, and I have had an opportunity to discuss
   the nature of the charge with my attorney. I understand the charge and what the United
   States is required to prove in order to convict me. The elements of Count 1, Misuse of
   Official Badges, Identification Cards, other Insignia are:

         First:          The defendant manufactured, sold, or possessed colorable imitations
                         of or impressions in the likeliness of badges, identification cards, or
                         insignias of the design prescribed by the head of a department or
                         agency of the United States for use by officers and employees thereof;
                         and
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             Second:         The defendant acted without lawful authority from that department or
             \
                             agency.

           2.     I know that the maximum possible penalty provided by law for Count 1 of
   the Misdemeanor Information, a violation of 18 U.S.C. § 701, is a term of imprisonment
   of six months, a fine of $5,000, a term of supervised release of 1 year, and any applicable
   forfeiture. I understand that if I violate a term or condition of supervised release, I can be
   returned to prison for the length oftime provided in 18 U.S.C. § 3583(e)(3).

               a. Additionally, I know the Court is required to impose an assessment in the
   amount of$25 for each offense of conviction, pursuant to 18 U.S.C. § 3013. Furthermore,
   restitution to the victim of my offense may be ordered pursuant to 18 U.S.C. § 3663.

             b. I understand that, ifl am not a United States citizen, I may be removed from
   the United States, denied citizenship, and denied admission to the United States in the
   future.

           3.    I know that the sentencing procedures in this case and the ultimate sentence
   will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
   is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
   have discussed these procedures with my attorney. I also know that the final calculation
   of my sentence by the Court may differ from any calculation the United States, my attorney,
   or I may have made, and I will not be able to withdraw my plea if this occurs.

          4.     I know that I can be represented by an attorney at every stage of the
   proceeding, and I know that if I cannot afford an attorney, one will be appointed to
   represent me.

         5.     I know that I have a right to plead "Not Guilty" or maintain my earlier plea
   of "Not Guilty" and can have a trial on the charges against me.

             6.      I know that I have a right to a trial by jury, and I know that if I stand trial by
   a Jury:

                  a. I have a right to the assistance of counsel at every stage of the proceeding.

                  b. I have a right to see and observe the witnesses who testify against me.

                  c. My attorney can cross-examine all witnesses who testify against me.

                d. I have the right to testify and present evidence, to call witnesses to testify at
   trial, and I can obtain subpoenas to require the attendance and testimony of those witnesses.
   Ifl cannot afford to pay for the appearance of a witness and mileage fees, the United States
   will pay them.


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                  e. I cannot be forced to incriminate myself, and I do not have to testify at any
    trial.

             f. If I do not want to testify, the jury will be told that no inference adverse to
    me may be drawn from my election not to testify.

              g. The United States must prove each and every element of the offense charged
    against me beyond a reasonable doubt.

                  h. It requires a unanimous verdict of a jury to convict me.

              i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
    the United States would pay the costs of the appeal, inclqding the services of appointed
    counsel.

             7.      Ifl plead guilty, I will not have a trial of any kind.

           8.     I know that 18 U.S.C. § 3742(a) sets forth the circumstances under which I
   may appeal my sentence. However, fully understanding my right to appeal my sentence,
   and in consideration of the concessions and/or commitments made by the United States in
   this plea agreement, I knowingly, voluntarily and expressly waive my right to appeal as set
   forth in paragraph 12 below.

         9.      I know that 18 U.S.C. § 3742(b) sets forth the circumstances under which the
   United States may appeal my sentence.

          10.    I know that under a plea of guilty the judge may ask me questions under oath
   about the offense. The questions, if asked on the record and in the presence of counsel,
   must be answered truthfully and, if I give false answers, I can be prosecuted for perjury.

          11.    I stipulate and agree that the following facts accurately describe my conduct.
   These facts provide a basis for the Court to accept my guilty plea:

                    On or before May 12, 2021, and continuing to at least September 6, 2022, in
             the District of Utah and elsewhere, I did, without lawful authority possess colorable
             imitations of and impressions in the likeliness of insignias of the design prescribed
             by the head of a department or agency of the United States for use by officers and
             employees thereof, that is, the United States Department of Health and Human
             Services and the Centers for Disease Control and Prevention, which was not
             authorized under regulations made pursuant to law.

                   Specifically, at the direction of MICHAEL KIRK MOORE JR., I destroyed
             hundreds of doses of government-provided COVID-19 vaccines; distributed
             COVID-19 vaccination record cards containing insignia of the Department of
             Health and Human Services and the Centers for Disease Control and Prevention to

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           persons without administering a COVID-19 vaccine to them in violation of the
           COVID-19 Vaccination Program Provider Agreement; and administered saline
           shots to minor children to trick them into thinking they had received a vaccine.

           12.   The only terms and conditions pertaining to this plea agreement between me
    and the United States are as follows:

              a. Guilty Plea. I will plead guilty to Count 1 of the Misdemeanor Information.

             b. Dismissal of Counts. The United States agrees to move for leave to dismiss
    felony Counts 1-3 as to me, at the time of sentencing.

                c. Relevant Conduct. I understand and agree that the Presentence Report may
    include descriptions of conduct I engaged in which either was not charged against me, will
    not be pleaded to by me, or both. I understand and agree that the Court may take these
    facts into consideration in sentencing.

              d. Appeal Waiver.

                  (1)    Fully understanding my limited right to appeal my sentence, as
   explained above in paragraph 8, and in consideration of the concessions and/or
   commitments made by the United States in this plea agreement, I knowingly, voluntarily,
   and -expressly waive my right to appeal any sentence imposed upon me, and the manner in
   which the sentence is determined, on any of the grounds set forth in 18 U.S.C. § 3742 or
   on any ground whatever, except I do not waive my right to appeal (1) a sentence above the
   maximum penalty provided in the statute of conviction as set forth in paragraph 2 above;
   and (2) a sentence above the high-end of the guideline range as dete1mined by the district
   court at sentencing, or, in the event that no such determination is made by the district court,
   a sentence above the high-end of the guidelip.e range as set forth in the final presentence
   report. I also knowingly, voluntarily, and expressly waive any argument (1) that the
   statute(s) to which I am pleading guilty is/are unconstitutional or (2) that my admitted
   conduct does not fall within the scope of the statute(s).

                 (2)   I also knowingly, voluntarily, and expressly waive my right to
   challenge my sentence, and the manner in which the sentence is determined, and my
   conviction, in any collateral review motion, writ or other procedure, including but not
   limited to a motion brought under 28 U.S.C. § 2255, except on the issue of ineffective
   assistance of counsel. This waiver includes any motion for modification of my sentence
   under 18 U.S.C. § 3582(c)(2).

                  (3)    I understand that this waiver of my appeal and collateral review rights
   concerning my sentence shall not affect the United States' right to appeal my sentence
   pursuant to18 U.S.C. § 3742(b). However, I understand that the United States agrees that
   if it appeals my sentence, I am released from my waiver.

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                  (4)    I further understand and agree that the word "sentence" appearing
    throughout this waiver provision is being used broadly and applies to all aspects of the
    Court's sentencing authority, including, but not limited to: (1) sentencing determinations;
    (2) the imposition of imprisonment, fines, supervised release, probation, and any specific
    terms and conditions thereof; and (3) any orders of restitution.

               e. Presentence Report and Financial Information. I agree to provide
    truthful and complete information, including financial information, as requested by the
    probation office for the preparation of my presentence report and for determination of the
    conditions of my supervised release. I also consent to allowing the United States
    Attorney's Office to run a credit check on me. I consent to being placed on the Treasury
    Offset Program and State Finder.

           13.    I understand and agree that this plea agreement is solely between me and the
    United States Attorney for the District of Utah and does not bind any other federal, state,
    or local prosecuting, administrative, or regulatory authorities.

          14.   I understand that I have a right to ask the Court any questions I wish to ask
    concerning my rights about these proceedings and the plea.

                                    *      *      *    *

          I make the following representations to the Court:

           1.    I am 5 Y years of age. My education consists of    ::r: <J ,,..JL
     can read and understand English.

           2.     This Statement in Advance contains all terms of the agreements between me
     and the United States; if there are exceptions, the Court will be specifically advised, on
     the record, at the time of my guilty plea of the additional terms. I understand the United
     States and I cannot have terms of this plea agreement that are not disclosed to the Court.

          3.     No one has made threats, promises, or representations to me that have caused
     me to plead guilty, other than the provisions set forth in this agreement.

           4.    Neither my attorney nor the United States has promised me that I would
     receive probation or any other form of leniency because of my plea.

           5.    I have discussed this case and this plea with my lawyer as much as I wish,
     and I have no additional questions.

          6.     I am satisfied with my lawyer.

         7.    My decision to enter this plea was made after full and careful thought; with
    the advice of counsel; and with a full understanding of my rights, the facts and

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     circumstances of the case and the consequences of the plea. I was not under the influence
     of any drugs, medication, or intoxicants when I made the decision to enter the plea, and I
     am not now under the influence of any drugs, medication, or intoxicants.

          8.     I have no mental reservations concerning the plea.

           9.    I understand and agree to all the above. I know that I am free to change or
     delete anything contained in this statement. I do not wish to make changes to this
     agreement because I agree with the terms and all the statements are cmrect.

          DATED this      J 'J.   day of January, 2025.


                                                                           OYNE


          I certify that I have discussed this plea agreement with the defendant, that I have
   fully explained her rights to her, and that I have assisted her in completing this written
   agreement. I believe that she is knowingly and voluntarily entering the plea with full
   knowledge of her legal rights and that there is a factual basis for the plea.

          DATED this ( ~ day of January, 2025.



                                                     MICHAEL LANGFORD
                                                     Attorney for Defendant

          I represent that all terms of the plea agreement between the defendant and the United
   States have been, or will be at the plea hearing, disclosed to the Court, and there are no
   undisclosed agreements between the defendant and the United States.

          DATED this )'(Ii,, day of January, 2025.

                                                     TRINA A. HIGGINS
                                                     United States Attorney
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                                                     Assistant United States Attorney




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